Case 2:12-cr-00016-RAJ   Document 201   Filed 11/04/16   Page 1 of 6
Case 2:12-cr-00016-RAJ   Document 201   Filed 11/04/16   Page 2 of 6
Case 2:12-cr-00016-RAJ   Document 201   Filed 11/04/16   Page 3 of 6
Case 2:12-cr-00016-RAJ   Document 201   Filed 11/04/16   Page 4 of 6
Case 2:12-cr-00016-RAJ   Document 201   Filed 11/04/16   Page 5 of 6
Case 2:12-cr-00016-RAJ   Document 201   Filed 11/04/16   Page 6 of 6
